Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 1 of 7 PageID: 18601
 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 1 of 7 PagelD: 18588




                            IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY



    NITE GLOW INDUSTRIES,INC., I DID IT,                Honorable Katharine S. Hayden, U.S.D.J.
    INC. and MARNI MARKELL HURWITZ,
                                                        Case No. 2:I2-cv-04047(KSH)(CLW)
                             Plaintiffs,

                     -against-
                                                               ORDER OF JUDGMENT
    CENTRAL GARDEN & PET COMPANY &
    FOUR PAWS PET COMPANY,d/b/a FOUR
    PAWS PRODUCTS. LTD,

                             Defendants.



          THIS MATTER having been tried before a jury of eight, the Hon. Katherine S. Hayden,
   U.S.D.J. presiding, and the Jury having heard and deliberated upon the evidence, and having
   rendered a verdict as set forth on the verdict form attached to this Order of Judgment as Exhibit
   "A",

          IT IS ORDERED AND ADJUDGED THAT:

          1. Judgment in the amount of $825,450.00 be and hereby is entered in favor of Plaintiffs
             and against Defendants as and for reasonable royalty damages.

          2. Judgment in the amount of $825,450.00 be and hereby is entered in favor of Plaintiffs
               and against Defendants as and for the claim ofbreach ofthe Confidentiality Agreement.

          j.   Judgment in the amount of $11,006,000.00 be and hereby is entered in favor of
               Plaintiffs and against Defendants as and for the claim of misappropriation.

          4. The Couit shall access prejudgment interest as applicable in an amount to be
             determined by the Court upon motion by the Plaintiffs.

          5. The Coun retains jurisdiction over this matter for purposes of post-trial motions to be
               filed by the parties.



                                           HONORABLE KATHARINE S. HAYDEN, U.S.D.J

  DATED;D: 1 h(n            17
Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 2 of 7 PageID: 18602

 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 2 of 7 PagelD: 18589




                         EXHIBIT A
Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 3 of 7 PageID: 18603

 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 3 of 7 PagelD: 18590



   ■p


        i



                                                  JURY VERDICT FORM

                     When answering the following questions and filling out this Verdict Form, please follow

             the directions provided throughout the form. Your answer to each question must be unanimous.

             Some of the questions contain legal temis that are defined and explained in detail in the Jury

             Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of

             any legal term that appears in the questions below.

                    We, the jury, unanimously agree to the answers to the following questions and return

             them under the instructions of the Court as our verdict in this case.

                    Start with Question 1 and work your way through and including Question 9. You must

             answer all 9 questions below unless directed to skip a question.



            Question No. 1;


                     Did Mami Markell prove that Central induced infringement of claim 1 of the '445
            Patent? Answering YES to this question means that you find for Marni Markell. Answering NO
            to this question means that you find for Central.


                   YES                     NO_X

            Question No. 2;

                  Did Mami Markell prove that Central contributorily infiringed claim 1 of the '445 Patent?
            Answering YES to this question means that you find for Mami Markell, Answering NO to this
            question means that you find for Central.


                   YES /\X                NO
Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 4 of 7 PageID: 18604

 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 4 of 7 PagelD: 18591




        Question No.3;


              Did Mami Markell prove that Central infringed claim 1 of the '445 Patent under 35
       U.S.C. § 271(f) based on sales ofthe Zodiac products in Canada? Answering YES to this
       question means that you find for Mami Markell. Answering NO to this question means that you
       find for Central.



               YES Y                    NO

               If you answered "YES"to any or all of Questions 1,2, and 3, please answer Question 4

       and Question 5 and continue working your way through the remaining questions. If you

       answered "NO"to all three of Questions 1,2, and 3,skip Question 4 and Question 5, and please

       go to and answer Question 6 and continue working your way through the remaining questions.

       Question No. 4:


             Please state:(a) the amount of total infringing sales;(b)the reasonable royalty rate that
      would have resulted from the hypothetical negotiation; and (c)the reasonable royalty damages.
      To calculate the reasonable royalty damages, please multiply the amount of total Infringing sales
      by the reasonable royalty rate.


                      Total Infringing Sales                $_ li, nnU.nnO
                      Reasonable Royalty Rate                      Sf.5
                     Reasonable Royalty damages             $_ ^2S.4Sn
      If you find no apportionment is necessary, do not fill in the following portion of Question 4,and
      go to and answer Question 5.

      If you find an apportionment is necessary, fill in the following portion of Question 4, stating: the
      apportionment rate, and the reasonable royalty damages with apportionment applied. To
      calculate the reasonable royalty damages with apportionment applied, please multiply the
      reasonable royalty damages by the apportionment rate.
Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 5 of 7 PageID: 18605

 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 5 of 7 PagelD: 18592




                      Apportionment Rate                          If) %
                      Reasonable Royalty Damages with apportionment applied:




       OuestioD No. S;


               Did Mami Markell prove that Central's infringement ofclaim 1 of the '445 patent was
       willful? Answering YES to this question means that you find for Mami Markell. Answering
       NO to this question means that you find for Central.



              YES   X
                    A               NO




      Oucstion No.6;

             Did Mami Markell prove that Central breached the Confidentiality Agreement?
      Answering YES to this question means that you find for Mami Markell. Answering NO to this
      question means that you find for Central.


             YES     X             NO



             If you answered "YES"to Question 6, please answer Question 7. If you answered'*N0"

      to Question 6, please skip Question 7,and please go to and answer Question 8 and continue
      working your way through the remaining questions.


      Ouestion 7;

              Please state the total dollar amount ofdamages you find Mami Markell has sustained as
      the result ofCentral's breach ofthe Confidentiality Agreement.



                                                   -3-
Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 6 of 7 PageID: 18606

 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 6 of 7 PagelD: 18593




                                        S26 H6ll

       Question 8:


              Did Marni Markell prove that Central misappropriated her idea? Answering YES to this
       question means that you find for Mami Markell. Answering NO to this question means that you
       find for Central.


              YES                  NO



              If you answered "YES"to Question 8, please answer Question 9. If you answered '*N0/

       skip Question 9.


       Question No. 9:



            If you answered "YES"to Question 8, please state the total dollar amount ofdamages
   ' owed to Mami Markell from Central's misappropriation.


                                         I I. hOL.rmP
Case 2:12-cv-04047-KSH-CLW Document 378 Filed 07/16/18 Page 7 of 7 PageID: 18607
 Case 2:12-cv-04047-KSH-CLW Document 376-1 Filed 07/10/18 Page 7 of 7 PagelD: 18594




               You have now reached the end ofthe verdict form and should review it to ensure it

       accurately reflects your unanimous determinations. The Foreperson should then sign and date

       the verdict form in the spaces below and notify the Courtroom Deputy that you have reached a

       verdict. The Foreperson should retain possession ofthe verdict form and bring it when the jury

       is brought back into the courtroom.



       Date:
                                                                          Foreperson



                                                             I HEREBV CERTIFY fha» »he a'*'***-
                                                             foregoing is a true onci correct c.., . of
                                                             the original on file In my office.
                                                                attest              ,       ^
                                                                WILUAM T.WALSH, ClorK
                                                                 United States District Court
                                                                 District of New Jersey


                                                                       Gwuwty Cler




                                                  -5
